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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


PATRICIA DEMUS,                                 )
                                                )
                  Plaintiff,                    )
       vs.                                      )     No. 1:14-cv-03643
                                                )
                                                )     Honorable Judge Jorge L. Alonso
PORTFOLIO RECOVERY ASSOCIATES,                  )
LLC,                                            )
          Defendant,                            )


                 AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED by and between the parties through their

respective counsel that the above-captioned action is dismissed, with prejudice against the

defendant pursuant to Federal Rule of Civil Procedure 41. Each party shall bear its own costs and

attorney fees.



Dated: April 1, 2015                             Respectfully Submitted,


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